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 4

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 6
     Attorneys for Randall P. Sanders, Receiver
 7
                                 U N I T E D STATES DISTRICT COURT
 8
                                        DISTRICT OF A R I Z O N A
 9
      U.S. C O M M O D I T Y FUTURES
10
      T R A D I N G COMMISSION,
11                                                    No.4:ll-CV-00021-FRZ
                                    Plaintiff,
12
                     -vs-
13                                                    R E C E I V E R ' S STATUS REPORT
      A N T H O N Y EUGENE L I N T O N dba THE        F O R F E B R U A R Y 1, 2012 T H R O U G H
14    PRIVATE T R A D I N G POOL,                     O C T O B E R 10, 2012
15                                  Defendant.
16

17          Randall P. Sanders, duly appointed Receiver, through counsel undersigned, files this

18   Status Report for February 1, 2012 through October 10, 2012 (the "Report") and

19   summarizes the actions taken since his appointment by this Court on April 27, 2011, as

20   follows:

21          1.     I took control, custody and possession o f all funds, premises, property, and

22   other assets in possession of, or under the control of, Anthony Eugene Linton (the

23   "Defendant") wherever situated, that I believed to be related to this action, and consistent

24   with the Order for Preliminary Injunction and other ancillary relief against Defendant dba

25   The Private Trading Pool. I took control o f a l l tangible property o f Defendant located at the

26   Sierra Auctions storage facility in Tucson, A Z and in the possession or control o f Mark A .
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 1   Klase, A m y L . Klase, and any attorney or other person or entity acting on behalf o f Mark A .

 2   Klase, A m y L . Klase.

 3          2.     I inspected the former residence o f the Defendant and took control o f all

 4   personal property located there. With the assistance o f North American Van Lines I

 5   removed and stored all items o f personal property o f consequential value for auction.

 6          3.     I held, preserved and managed all receivership assets and I performed all acts

 7   necessary to preserve the value o f those assets, in order to prevent any loss or damage.

 8          4.     I was advised by the Commodity Futures Trading Commission ("CFTC") that

 9   no actions needed to be initiated, defended, compromised, adjusted, intervened in, nor did I

10   become a party to the any actions or proceedings in state, federal or foreign jurisdictions

11   necessary to preserve or increase the assets o f Defendant or to carry out my duties pursuant

12   to this Court's Order.

13          5.     I sought authorization from this Court for the employment o f the following

14   professionals: Mesch, Clark & Rothschild, P.C. to represent me in all legal matters that the I

15   deemed necessary and appropriate; Bob Gauna, a former F B I agent, to provide

16   investigation, surveillance and security o f personal property under my control; T i m

17   Veninga, a licensed gun broker, to provide research regarding the fair market value o f rare

18   and collectible firearms in my possession and to assist me in locating prospective purchasers

19   for firearms and in transferring ownership o f the firearms to prospective purchasers. In

20   addition, I sought authority to utilize the following entities: Gunbroker.com, a commercial

21   website that lists firearms for sale both nationally and internationally; North American Van

22   Lines for storing and removing personal property f r o m the Lintons' former residence; T & T

23   Auctions for advertising, cataloging and selling various items o f Lintons' personal property

24   located a their former residence; Sierra Auctions for storing and sale o f three motor vehicles

25   (one DeLorean and two Lotuses) and two motorcycles (Motoguzzis) and other items o f

26


                                                    2
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 1   personal property of Defendant. By Order dated July 14, 2011, this Court approved the

 2   employment and utilization of professional as set forth herein.

 3          6.     I have attached to this Report a schedule of the firearms I controlled and sold
 4   with the assistance of Mr. Veninga, the licensed firearms dealer and through
 5   Gunbroker.com. (See Exhibit A, attached).
 6          7.     I was advised by CFTC that no subpoenas needed to be issued in order to
 7   obtain discovery and records pertaining to this receivership.
 8
            8.     T opened a Receiver's bank account at Wells Fargo Bank, N.A. in Tucson,
 9
     Arizona for deposit ofthe net proceeds ofthe sale of Defendant's assets under my control. I
10
     made disbursements from this account pursuant to Orders of this Court. (See Exhibit B,
11
     attached).
12
            9.     There were no commodity futures positions or other outstanding positions
13
     owned by the Defendant that need to be closed out.
14
            10.    The Receiver's account at Wells Fargo Bank contains a total of $148,588.26
15
     representing the balance of funds resulting from the liquidation ofall of Defendant's
16
     personal property I possessed or controlled during this matter (the "Receivership Proceeds")
17
     (See Exliibit C, attached).
18
            11.    CFTC is engaged in analyzing investor claims. When CFTC has completed its
19
     analysis, I will disburse the Receivership Proceeds to the National Futures Association, the
20
     Court appointed Monitor, with this Court's approval.
21
            DATED: October 10, 2012.                                         „
22
                                                       Randall P. Sanders, Receiver
23

24   MESCH, CLARK & ROTHSCHILD, P.C.

25

26         ScotfH. Gan
           Attorneys for Receiver
                                                   3
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                                EXHIBIT A
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                             CFTC vs. Linton
                           Firearm Sales report
                                 8/10/2012

                                                              Gross
  Decscription                            Serial Number     Sale Price
  Ruger 10/22 Carbine                       237-61036              185
  Ruger Mark II .22 LR                      222-83593             175
  AA Arms AP9 9MM x 19                         048844             325
  AA Arms AP9 9MM Luger                       057489              325
  Beretta AR 70 .223 non working              M32349              300
  Ruger Vaquero .45 LC                       57-95627             475
  ColtAR15 A3 .223 LEO                     LBD021144              875
  Colt AR 15 A1 9mm LEO                    LTA005989              875
 Colt Sporter Lightweight 9mm NATO            004724              850
 AA Arms AP9 9mm Luger                        011412              325
 AA Arms AP9 9mm Luger                        058878              325
 Berretta 84B 9mm Short                      B86843Y              350
 WaltherP88 9mm x 19                          002893            1,275
 Walther P88 Compact 9mm x 19                 104927           1,100
 Walther P99 9mm x 19                         023331              380
 Walther TPH .22 LR                           278230              575
 lntratecTEC-DC9                             0045739             450
 Ruger Vaquero .45 LC                       55-00016             450
 Zhong Zou SPM-20 20 Ga                      8000652             230
 Zhong Zou JW2000 20 Ga                       300328             225
 Colt Detective Special .38 SPL              RD0590              500
 H&R Arms .30 Carbine                        5728137             825
 H&R Arms .30 Carbine                        5619826             680
Beretta Tomcat .32 Cal                    DAA245176              430
Intratec Sport 22 .22 LR                    K009234              226
Walther P-88 9mm x 19                        007192              960
Walther PPK 9mm Kurz                        A054065              440
Winchester Model 1894 Wells Fargo Comm    WFC13655               800
Walther P-1 9mm                              320460              325
Intratec Sport 22 .22 LR                      86135              275
Beretta 84FS Cheetah .380                   H09792Y              675
Armi Tanfoglio Guiseppe Model G727 .25      M164128               40
Walther P38 9mm Para                         446509           1,000
Walther PP                                   710919    1
Walther PP                                  487/500     j
Walther PPKS                                238705S     j
Walther PPK                                 334537K     !
Walther PP                               W 003 von 500
Walther PPK                                  104827
Walther PPK                                110977LR
Walther PPK                                 124643A
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   Walther PPKS                                   C003      j
   Walther PPKS                                   C101
                                                  C102
   Walther PPKS
   Walther PPK                                  131380A     J
                                                             !
   Walther PPKS                                  240567     j
   Walther PPKS                                  240568   j
   Luger                                           60                 400
   Winchester Model 94 30-30                     F58356               250
   Winchester Model 94 30-30                   6307569                250
   Winchester Model 94 30-30                    3594140               250
   Winchester Model 94 30-30                   2936745               250
   Luger P08                                      5085             1,681
   Walther Model P-38                            5100e               500
   Walther P4                                   603575               500
   Walther P38 9mm                              305420               775
   Walther PP .22                              46599LR               780
   Walther PP                                   19513A             1,052
   Walther PP Super .380                        100535             1,052
  Walther PPK 9mm Kurz                         124402A             1,161
  Walther PPKS .22LR                           118742S               881
  Walther PPKS .22LR                            135546               800
  Walther PPKS .22LR                           135817S               806
  Walther PPKS 7.65mm                          314377S               755
  Walther P38 9mm Para                         446850                875
  Walther PP Super 9mm X 18                     20663                700
  Walther PP 7.65mm                            443561                825
 (Ruger Vaquero .45 LC Yavapai County #19     56-85424    i
 jRuger Vaquero .45 LC Yavapai County #20     56- 85472
 jRuger Vaquero .45 LC
                                                          i—      2,500
                                              57- 76204
 'Ruger Vaquero .45 LC                                    t
                                              57-87063   r


 fBefetta 92F 9mm                           BER2571392 1
                                                                    800
 (Beretta 21A .22LR                         BERS92865U
  Walther P38 100 Year Commemorative           446512               650
  Beretta 84FS Cheetah 9mm Short               H19909               400
  Winchester 94 30-30                         4063915               200
  Sterling MK-7 9mm                           SA0149                250
  Walther PP                                   470884               700
[Winchester Model 94E .357 Magnum             6445021   1
                                                        1           300
(Winchester Model 94E .45 LC                  6135821
                                                         r~
 Walther 30-06                                  5007                150
 Walther P-88 9mm x 19                          10043               300

Misc ammunition, knives, etc                                      2,140



Total through August 10, 2012                                    54,629
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                                EXHIBIT B
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                                                              CFTC vs. Linton
                                                             Wells Fargo Bank
                                                            Acct#XXXXXX7139
                                                         Randall P. Sanders, Receiver


                                                                                                               Amount
 Date        Chk# Payee                             Description                                         Receipts      Disbursements    Balance

6(30/2011    Fee     Wells Fargo Bank               Monthly fee                                 X                              525         (5.25)
7/1/2011     Fee     Wells Fargo Bank               Reverse monthly fee                         X             5.25                          0.00
7/14/2011    DEP     T & Ts Auctions                Miscellaneous personal property             X       31.328.38                      31,328.38
3/12/2011    1001    Mark Klase                     Reimb of expenses per Order                 X                         4.333.00     26,995.38
8/12/2011    1002    Mesch. Clark & Rothschild      Legal fees for receiver                     X                         9,330.20     17,665.18
8/12/2011    1003    Robert Gauna                   Fees for security, mover supervision        X                         2,798.64     14,866.54
8/12/2011    1004    Ralph's Transfer and Storage   Packing, moving and storage fees            X                         6,902.08       7,964.46
8/12/2011    1005    Randaii P. Sanders             Expense reimbursement per Order             X                           578.00       7,386.46
8/29/2011    1006    Sierra Auction Management      Storage fees-May! thru August 1. 2011       X                           600.00       6,786.46
6/30/2011    1007    Ralph's Transfer and Storage   September storage                           X                           340.00       6,446.46
10/11/2011   1008    Ralph's Transfer and Storage   October Storage                             X                           340.00       6,106.46
10/20/2011   1009    Randall P. Sanders             Pay part of fees per order of 9 26 2011     X                         2,000.00       4,106.46
11/28/2011   1010    Ralph's Tranfer, Inc.          Delivery Fee to Sierra Auction Management   X                           522.50       3,583.96
 12/8/2011   DEP     Sierra Auction Management      Proceeds from Cars and Collectables         X       131124.63                      134,708.59
12/9/2011    1011    VOID                           VOID                                            X                          0.00    134,708.59
12/9/2011    1012    Red Oak Management Co.         Balance of Approved Fees of RP Sanders          X                      6,435.00    128,273.59
12/9/2011     1013   Mesch, Clark & Rothschild      Balance of Fees Approved 9/14/2011              X                      3,258.10    125,015.49
 12/9/2011    1014   Sierra Auction Management      Refund Commission error                         X                      5,266.25    119,749.24
12/15/2011    DEP    Ballistic Firearms             First gun sales                                 X     5.584.40                     125,333.64
12/21/2011    DEP    Sierra Auction Management       Misc items subsequent sale                     X        157.50                    125,491.14
  1/4/2012    DEP    Sierra Auction Management       Misc items subsequent sale                     X        564.00                    126,055.14
  1/4/2012    DEP    Ballistic Firearms              Gun sales                                      X     6.339.54                     132,394.68
 3/26/2012    DEP    Ballistic Firearms              Gun and misc sales                             X    16,406.74                     148,801.42
 4/23/2012    1015   Randall P. Sanders              Fees approved                                  X                      4,342.25    144,459.17
 4/27/2012    DEP    Ballistic Firearms              Gun Sales and Misc                             X    13,909.70                      158,368.87
 5/22/2012    1016   Mesch, Clark & Rothschild       Fees approved 4/23/2012                        X                     16,237.57     142,131.30
 6/19/2012    DEP    Ballistic Firearms              Gun sales                                             5.577.00                     147,708 30
 8/10/2012    DEP    Ballistic Firearms              Gun sales                                               879.96                     148,588.26


Totals through August 10, 2012                                                                          211.877.10         63,288.84    148,588.26
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                                EXHIBIT C
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                                 CFTC vs. Linton
                            Reconciliation / Final Report


                                     Personal Property Personal Property
                                       On Site Sale      Auction Sale      Firearms Sales   Totals

Gross Proceeds                                48,198           142,617             54,629      245,444

Commissions and Expenses                      16,869            16,038              5,931       38,838

Gross Proceeds                                31,328           126,579             48,698      206,606



Pre Receivership Expenses
        Klase Expenses                                                                               4,333
        Storage Expenses                                                                             6,902

Post Receivership Expenses
        Legal Fees and Expenses                                                                 28,826
        Receiver Fees and Expenses                                                              13,355
        Storage Expenses                                                                         1,803
        Security                                                                                 2,799

Net Proceeds                                                                                    148,588
